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                          UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                               DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION

 In Re:
                                                   Chapter 13
 Roosevelt Coles
 Karen Coles                                       Case number: 15-10761

             Debtors


                           JOINT PRETRIAL MEMORANDUM

        Now come counsel for the Debtors Roosevelt Coles and Karen Coles and the
 Creditor MTGLQ Investors, LP and state as follows:

 A.       Witness List:

          Debtors’ Witnesses To Be Presented:

          1. Roosevelt Coles


          Creditor MTGLQ Investors, LP Witnesses:

          1. Darla Martin from Rushmore Loan Management Services, the Servicer of the
             loan.

 B.       Exhibits:

          Debtors’ Exhibits:

          1. Proofs of payment
          2. Debtors reserve the right to introduce as exhibits any documents produced in
             discovery

          MTGLQ Investors, LP Exhibits:

          101. Payment History

 C.        Specific statement of any objection reserved as to the admissibility of deposition
          testimony and/or admissibility of documents or exhibits.

          Debtors’ reserved objections: Debtor reserves the right to object to documents and

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        exhibits based on hearsay, authentication, relevance, and any other objection
        available under the Federal Rules of Evidence, and to object based on the
        document or exhibit not being produced in discovery.

        MTGLQ Investors, LP reserved objections

        1. N/A


 D.     Statement regarding the Parties’ efforts to reach a resolution and positions on
        attempting to resolve their dispute by mediation.

        Counsel to the Parties have discussed the issue in controversy (post-petition
        payments) numerous times between the March 21, 2017 filing of the Motion for
        Relief and this date. Debtors’ position is that mediation is unlikely to be
        successful.

 E.     Statement of contested issues.

        The remaining issue is narrowly focused and deals solely on post-petition
        mortgage payments that have or have not been made by the Debtor. The Parties
        are in agreement that there is equity in the Property.




 MTGLQ Investors, LP Creditor                Roosevelt Coles and Karen Coles, Debtor
 By its attorney,                            By their attorney,



 /s/ Michael E. Swain                        /s/ William Parks
  _______________________________            ___________________________
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 Dated: February 6, 2018                     Dated: February 6, 2018




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